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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 IN RE:                                            )
 PROCEDURES FOR THE FILING,                        )           STANDING ORDER
 SERVICE, AND MANAGEMENT OF                        )               M10 468
 HIGHLY SENSITIVE DOCUMENTS                        )              21-mc-0006
                                                   )


        WHEREAS, in response to recent disclosures of wide-spread breaches of both private
sector and government computer systems, federal courts are immediately adding new security
procedures to protect highly sensitive documents filed with the courts;

      WHEREAS, the Court does not allow parties to file sealed documents on the Case
Management/Electronic Case Filing (“ECF”) system in criminal cases;

         WHEREAS, since February 3, 2020, this Court has allowed parties to file sealed
documents on the ECF system in civil and miscellaneous cases, subject to appropriate
restrictions on viewing;

       WHEREAS, during that time, this Court has also allowed parties in civil and
miscellaneous cases to request leave to file a document in paper form, and not on the ECF
system, if they had reason to believe the document should not be electronically filed;

       THE COURT FINDS that, pursuant to Fed. R. Civ. P. 5(d)(3)(A), good cause exists to
allow parties to file highly sensitive documents in civil and miscellaneous cases outside of the
ECF system.

        THEREFORE, IT IS HEREBY ORDERED that, effective as of the date of this order
and until such time as the Court orders otherwise, the filing of highly sensitive documents in
civil and miscellaneous cases shall be subject to the procedures and requirements set forth below.
This Standing Order supersedes any and all inconsistent provisions in existing local rules or
other standing orders of this Court.

   1. Documents Subject to this Standing Order
      Subject to approval by the Court in accordance with the procedures set forth below, a
      document may be deemed a Highly Sensitive Document (“HSD”) if the S.D.N.Y. ECF
      Rules and Instructions otherwise permit the document to be filed on the ECF system and:
         a. it contains classified information or information that could harm national security;
             or
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          b. its disclosure could reasonably be expected to cause exceptionally grave damage
             or injury to any person, entity or institution.

   2. Filing and Service of HSDs
          a. HSDs may be filed in paper form and will be maintained by the Clerk of Court
             under seal in a secure paper filing system.
          b. Any party seeking to file a document under seal as an HSD shall follow the
             procedures set forth in Sections 6.16 and 6.17 of the S.D.N.Y. ECF Rules and
             Instructions.
          c. The filing party shall serve the HSD by any manner specified in Fed. R. Civ. P.
             5(b)(2), except for service via the ECF system.

   3. Highly Sensitive Court Orders
      If a judge determines that a court order contains highly sensitive information, the Clerk of
      Court will file and maintain the order in a secure paper filing system, and paper copies of
      the order will be served on the parties via mail.

   4. Removal of Existing HSDs from the ECF System
      Upon motion of a party in accordance with the procedures set forth above or upon its own
      motion, the Court may determine that a document that was previously filed electronically
      qualifies as an HSD and direct that the HSD be removed from the ECF system and filed
      in accordance with the procedures set forth above.

IT IS SO ORDERED, this 8th day of January, 2021.



                                                    ____________________________________
                                                    Colleen McMahon
                                                    Chief United States District Judge
                                                    Southern District of New York




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